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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND



 MARYLAND SHALL ISSUE,INC.,
 ENGAGE ARMAMENT,LLC,
 ANDREW RAYMOND,
 CARLOS RABANALES,
 BRANDON FERRELL,
 DERYCK WEAVER,
 JOSHUA EDGAR,
 I.C.E. FIREARMS & DEFENSIVE
 TRAINING,LLC,
 RONALD DAVID and
                                                         Civil Action No. TDC-21-1736
 NANCY DAVID,

         Plaintiffs,

         V.



 MONTGOMERY COUNTY, MARYLAND,

         Defendant.




                                 MEMORANDUM OPINION


       Plaintiffs have filed this civil action against Defendant Montgomery County, Maryland

("the County"), alleging that a recently enacted County ordinance regulating ghost guns and other

undetectable guns violates Article XI-E of the Maryland Constitution; the Maryland Express

Powers Act; the Takings Clause of the Maryland Constitution; the Due Process Clause of Article

24 of the Maryland Declaration of Rights; and the Due Process Clause of the Fourteenth

Amendment to the United States Constitution. Pending before the Court is Plaintiffs' Motion to

Sever and Remand All State Law Claims and to Hold in Abeyance, which is fully briefed. Having

reviewed the submitted materials, the Court finds that no hearing is necessary. See D. Md. Local



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R. 105.6. For the reasons set forth below, Plaintiffs' Motion will be GRANTED IN PART and

DENIED IN PART.


                                         BACKGROUND


        On April 16, 2021, the County Executive of Montgomery County signed into law Bill No.

4-21, legislation passed by the Montgomery County Council to regulate ghost guns, undetectable

guns, 3D-printed guns, and major components of such guns. Bill No. 4-21 amended the County's

existing firearms ordinance by adding such guns and their components to the list of items subject

to the County's prohibitions on the transfer ofguns to a minor and on the sale, transfer, possession,

or transport of firearms within 100 yards of a place of public assembly. Bill No. 4-21 also

expanded the definition of a "place of public assembly" to include "a place where the public may

assemble, whether the place is publicly or privately owned." Bill No. 4-21 at 4, Compl. Ex. A,

ECF No. 7. Finally, the bill added a requirement for the Montgomery County Police Department

to report annually on the availability and use of ghost guns and undetectable guns within the

County. The effective date of Bill No. 4-21 was July 16, 2021.

       On May 25, 2021, Plaintiffs filed this action in the Circuit Court for Montgomery County,

Maryland, alleging four counts numbered as follows: (1)that by expanding the "place of public

assembly" definition, the County exceeded its authority under Article XI-E of the Maryland

Constitution to enact local laws;(2) that Bill No. 4-2rs amendments are inconsistent with and

preempted by existing state law,in violation ofthe Maryland Express Powers Act, Md. Code Ann.,

Local Gov't § 10-206(LexisNexis 2013);(3)that Bill No. 4-21 violates the Takings Clause of the

Maryland Constitution, Md. Const, art. Ill, § 40, and the Due Process Clause in Article 24 of the

Maryland Declaration of Rights ("the Maryland Due Process Clause") by depriving gun owners

ofproperty without legal process or compensation; and(4)that Bill No.4-2rs definitions of"place
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of public assembly," "ghost gun," "major component," and other terms are unconstitutionally

vague, in violation of the Maryland Due Process Clause and the Due Process Clause of the

Fourteenth Amendment. Plaintiffs requested a declaratory judgment on all four counts, a

preliminary and permanent injunction barring enforcement of Bill No. 4-21, compensatory and

punitive damages for the Fourteenth Amendment violation pursuant to 42 U.S.C. § 1983, and

attorney's fees and costs pursuant to 42 U.S.C. § 1988.

       On June 16, 2021, Plaintiffs filed an Emergency Motion for Partial Summary Judgment,

which was scheduled for a hearing in the Circuit Court on July 15,2021. On July 12, 2021, before

the hearing could take place, the County removed the case to this Court pursuant to 28 U.S.C. §

1441 based on federal question jurisdiction.

                                          DISCUSSION


       In their Motion, Plaintiffs argue that the state law claims in this case should be severed and

remanded to state court because(1)severance and remand is mandatory under 28 U.S.C.§ 1441(c);

and(2)remand is warranted under 28 U.S.C. § 1367 because the state law claims predominate and

this case raises novel or complex issues of state law. Plaintiffs also request that the remaining

federal claim be stayed pending completion of the state court proceedings on the remanded state

law claims.


I.     Section 1441


       Plaintiffs first argue that severance and remand is mandatory under 28 U.S.C. § 1441(c),

which provides, in relevant part, that:

       (1)     If a civil action includes—

              (A)      a claim arising under the Constitution, laws, or treaties of the
                       United States (within the meaning of section 1331 of this title), and
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               (B)     a claim not within the original or supplemental jurisdiction of the
                       district court or a claim that has been made nonremovable by statute,

               the entire action may be removed if the action would be removable without
               the inclusion of the claim described in subparagraph (B).

       (2)     Upon removal ofan action described in paragraph(1),the district court shall
               sever from the action all claims described in paragraph (1)(B) and shall
               remand the severed claims to the State court from which the action was
               removed.


28 U.S.C. § 1441(c).

        This provision does not require remand. Although it requires severance and remand of"all

claims described in paragraph (1)(B)," which as relevant here consists of any "claim not within

the original or supplemental jurisdiction of the district court," such severance is not required

because all of the state law claims are within this Court's supplemental jurisdiction. 28 U.S.C. §

1441(c)(2). A federal district court has supplemental jurisdiction over "all other claims that are so

related to claims in the action within [the court's] original jurisdiction that they form part of the

same case or controversy." 28 U.S.C. § 1367(a). Here, where the Court has original jurisdiction

over Plaintiffs' federal due process claim and the state law claims provide different legal theories

by which Plaintiffs challenge the same County ordinance at issue in the federal claim, the Court

concludes that it has supplemental jurisdiction over the state law claims. Plaintiffs do not argue

otherwise. Because the state law claims here are not subject to the mandatory severance and

remand provision of 28 U.S.C. § 1441(c)(2), remand is not warranted on that basis.

II.    Section 1367


       That severance and remand is not mandatory does not the end the inquiry. Historically,

pendent or supplemental jurisdiction has been "a doctrine of discretion." United Mine Workers of

Am. V. Gibbs,383 U.S. 715,726(1966);see Shanaghan v. CahiU,58 F.3d 106, 109(4th Cir. 1995)

(stating that 28 U.S.C. § 1367 codified the doctrine of pendent jurisdiction developed in Gibbs).
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Under § 1367, a federal district court "may decline to exercise supplemental jurisdiction over a

claim" if:


       (1)      the claim raises a novel or complex issue of State law,
       (2)      the claim substantially predominates over the claim or claims over which
                the district court has original jurisdiction,
       (3)      the district court has dismissed all claims over which it has original
                jurisdiction, or
       (4)      in exceptional circumstances, there are other compelling reasons for
                declining jurisdiction.

28 U.S.C. § 1367(c). Pursuant to this provision, a court has the "inherent power . .. in cases

removed from State court, to remand." Hinson v. Norwest Fin. S.C., Inc., 239 F.3d 611,617(4th

Cir. 2001). In deciding "the additional question of whether to remand" claims to state court, a

court should consider "principles of economy, convenience, fairness, and comity" and "whether

the efforts ofa party in seeking remand amount to a 'manipulative tactic.'" Id. (quoting Carnegie-

Mellon Univ. V. Cohill, 484 U.S. 343, 357 (1988)). Here, Plaintiffs argue that declining

supplemental jurisdiction and remanding the state law claims is warranted because the state law

claims substantially predominate over the federal claim, and they raise a novel or complex issue

of state law.


       A.       Substantially Predominate

       The United States Supreme Court has stated that federal district courts should decline to

exercise jurisdiction over state law claims if the state law issues substantially predominate "in

terms of proof, of the scope of the issues raised, or of the comprehensiveness of the remedy

sought." Gibbs, 383 U.S. at 726. "Once it appears that a state claim constitutes the real body of

a case, to which the federal claim is only an appendage," a district court "may fairly" decline to

exercise jurisdiction over the state claim. Id. at 111. State law claims may predominate when "the

state law claims are more complex or require more judicial resources to adjudicate or are more
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salient in the case as a whole than the federal law claims." Diven v. Amalgamated Transit Union

Int'l^ 38 F.3d 598, 602(D.C. Cir. 1994){citation omitted). Here, while Plaintiffs do not suggest

that the proof required differs for the state law claims as compared to the federal claim, the scope

of the issues raised and the comprehensiveness of the remedy sought illustrate that the state law

claims substantially predominate over the federal due process claim.

        Although the County argues that the scope of the issues is "essentially identical across all

four counts" because both the federal claim and the collection of state law claims would require

analysis of the term "place of public assembly" as defined in Bill No. 4-21, Opp'n Mot. Remand

at 8-9, EOF No. 19,the Court does not construe the scope ofthe state law claims so narrowly. The

state law claims collectively constitute a frontal attack on the validity of Bill No. 4-21 based on an

array of state constitutional and statutory arguments. Counts 1 and 2 argue that the County's

enactment of Bill No.4-21 violated provisions of the Maryland Constitution and state statutes that

limit the authority of the county to legislate on firearms. Count 2 in particular asserts that

numerous different provisions of Bill No. 4-21 conflict with or are preempted by state law, in

violation of Maryland's Express Powers Act. Count 3 asserts that all of the limitations on gun

possession throughout Bill No. 4-21 violate state constitutional provisions barring the taking of

private property without due process and compensation. In contrast, the sole federal claim in

Count 4 is limited in scope. It challenges the County's definition of specific words and phrases

such as "public,""may assemble,""library,""recreational facility,""park,""unfinished receiver,"

and "major component" as unconstitutionally vague and overly broad as to invite arbitrary

enforcement, in violation of the Due Process Clause of the Fourteenth Amendment. Compl.
58-62, ECF No. 7.
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        Moreover, the state law claims are more complex and would likely require more judicial

resources to resolve. While the federal claim would primarily require the Court to examine specific

phrases in Bill No.4-21, the state law claims require the Court to look beyond the text and analyze

the interplay between the bill and various Maryland constitutional and state law provisions. For

example, the claim in Count 1 that the County is not authorized to enact this legislation requires

analysis of whether it is the type of "local law[]" permitted by Article XI-E of the Maryland

Constitution. Md. Const, art. XI-E. In response, the County states that its authority to legislate in

this instance arises not from Article XI-E, but instead from Article XI-A,thus requiring the Court

to analyze both provisions to evaluate the scope of the County's authority under the Maryland

Constitution. See Md. Const, arts. XI-A, XI-E. Count 2, which alleges that Bill No.4-21 conflicts

with and is preempted by state law, requires an analysis of the six different Maryland statutes that

Plaintiffs claim to preempt or conflict with Bill No. 4-21. Although the County argues that there

is no preemption because Bill No. 4-21 fits within a statutory exception permitting a county to

regulate certain specific gun activities, see Md. Code Ann., Crim. Law § 4-209(b)(LexisNexis

2021), consideration of that argument would require the Court to separately analyze that statute

and Maryland firearm preemption law more generally. Further, the state constitutional claims in

Count 3 add another complex legal analysis relating to two state constitutional provisions to the

range of issues presented by the state law claims.

       The comprehensiveness of the remedies sought also illustrates that the state law claims

predominate. Plaintiffs primarily seek declaratory and injunctive relief against enforcement of

Bill No. 4-21. If successful on the state law claims, the scope ofthat relief would be broader than

what they could obtain by prevailing on the federal claim alone. For example. Plaintiffs' success

on the federal due process claim likely would not bar enforcement of provisions of Bill No. 4-21
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unconnected to the terms challenged as unconstitutionally vague, such as the limitations on

transferring to a minor ghost guns not containing an unfinished receiver or guns made through a

3-D printing process. Because resolution ofthe federal claim in Plaintiffs' favor would still require

consideration of whether the state law claims invalidate other provisions of Bill No. 4-21, the

remedy sought through the federal claim is less comprehensive than the remedy sought through

the state law claims.


       For these reasons,the Court concludes that the state law claims "substantially predominate"

over the federal claim. The state claims "constitute^ the real body of[the] case," and the federal

claim here is "only an appendage." Gibbs, 383 U.S. at 727.

        B.     Novel or Complex Issue of State Law

        As for whether the state law claims present a novel or complex issue ofstate law,the Court

also finds that at least one of Plaintiffs' claims presents such an issue, specifically, Plaintiffs'

assertion in Count 2 that Bill No. 4-21 is preempted by state law. In Count 2, Plaintiffs challenge

Bill No. 4-21 based on the assertion that six different Maryland state statutes conflict with or

preempt it in some way. Although the County argues that the preemption issue is limited to the

question of whether Bill No. 4-21 fits within the explicit statutory exception to preemption of

firearms regulations which permits a county to regulate the "purchase, sale, transfer, ownership,

possession,and transportation" offirearms"with respect to minors" or within 100 yards ofa"place

of public assembly," Md. Code Ann., Crim. Law § 4-209(b)(l), the existence of this provision

does not resolve the question of whether Bill No.4-21 conflicts with the other allegedly preemptive

or conflicting state statutes, or how such conflicts should be reconciled with section 4-209(b). The

parties have not cited, and the Court has not identified, any controlling authority applying that

statutory exception or meaningfully interpreting its scope.



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       Notably, the existing law relating to whether Maryland has preempted local government

laws regulating firearms, including the coverage ofsection 4-209,is not easily navigated. In Mora

V. City of Gaithersburg, 462 F. Supp. 2d 675 (D. Md. 2006), a judge in this District analyzing

section 4-209 and several other state statutory provisions that preempt local authority to regulate

firearms concluded that "[s]tate law has so thoroughly and pervasively covered the subject of

firearms regulation and the subject so demands uniform state treatment, that any non-specified

regulation by local governments is clearly preempted." Id. at 687, 690 (holding that the City of

Gaithersburg's questionnaire, which requested more information for the return of a firearm than

that required under state law to possess a firearm, was preempted by state law), modified on other

grounds, 519 F.3d 216 (4th Cir. 2008). The court further concluded that "there can be no doubt

that the exceptions to otherwise blanket preemption"in Maryland state law "are narrow and strictly

construable." Id. Subsequently, in State v. Phillips, 63 A.3d 51 (Md. Ct. Spec. App. 2013), the

Maryland Court of Special Appeals held that a local ordinance that was not expressly preempted

by section 4-209(a) was not impliedly preempted because Maryland "ha[d] not so extensively

regulated the field of firearm use, possession, and transfer that all local laws relating to firearms

are preempted." Id. at 56,75-76(holding that a Baltimore City ordinance requiring certain persons

convicted of gun offenses to register with the police commissioner was not void based on

preemption). Against this landscape, another judge in this District has noted that there is a "lack

of clarity regarding the preemption of local law" on firearm use, possession, and transfer. Blue v.

Batth, No. GJH-15-1024,2017 WL 4162244, at *5 n.7(D. Md. Sept. 18, 2017).

       Significantly, while the County cites to two opinions from the Maryland Attorney General

addressing preemption of local gun laws, no party has cited to authority from the Maryland Court

of Appeals interpreting section 4-209. The sole Maryland Court of Appeals case referenced by
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the County, Montgomery County v. Atlantic Guns, Inc., 489 A.2d 1114(Md. 1985), interprets a

predecessor preemption provision and is thus of limited value. See id. at 1115, 1118 (finding a

county ordinance regulating loaded handguns to be preempted because the express preemption

provision barring regulation of handguns applied to the regulation of ammunition).

       Against this backdrop of limited relevant Maryland case law, the preemption issue

presented is a matter of first impression. The Maryland courts have yet to consider and resolve a

challenge to Bill No. 4-21, on preemption grounds or otherwise, and they have not considered

Plaintiffs' specific theory under Count 2 that the County's broadened definition of"place of public

assembly" has expanded the regulation of firearms beyond what is permitted by section 4-209(b).

Under these circumstances, the Court finds that the state law claims involve a "novel or complex

issue of State law." 28 U.S.C. § 1367(c)(1). Because the Court finds that the state law claims both

substantially predominate over the federal claim and that at least one state law claim involves a

novel or complex issue of state law, the Court may decline to exercise supplemental jurisdiction

over the state law claims.


       C.      Other Considerations


       In determining whether to remand, the Court also considers the principles of economy,

convenience, fairness, and comity and whether the party seeking remand is engaged in a

manipulative tactic. Hinson,239 F.3d at 617. The Court does not find that Plaintiffs have engaged

in a manipulative tactic in seeking remand, so the Court will focus on the other factors.

       Principles ofeconomy and convenience generally support keeping all claims in one forum.

In this instance, however, Plaintiffs request a remand of state law claims and a stay of the sole

remaining federal claim until the state claims are resolved. This approach would mitigate concerns

about economy and convenience by preventing the County from having to litigate simultaneously


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in two separate forums and, depending on the proceedings in state court, may obviate the need to

litigate the federal claim to completion. Moreover, because this action is in the early stages of

litigation and the parties do not anticipate discovery, there is no concern about having wasted

judicial resources by remanding at this stage of the action.

        The County argues that because the legal theories advanced by Plaintiffs "contain

significant overlap," there is a risk that issues of estoppel may complicate adjudication of the

federal claim. Opp'n Mot. Remand at 10. The Court finds that Plaintiffs' claims in Counts 1-3

are different enough in nature and scope from the federal claim that this risk is not significant.

Although this risk may be greater as to Count 4, in which the federal and state vagueness claims

are largely duplicative,the Court will address this risk by exercising supplemental jurisdiction over

the state law claim in Count 4 and declining to sever and remand that claim.

        Most importantly, the Court finds that any benefits ofjudicial economy or convenience

that could be achieved by keeping all of the claims in one forum are significantly outweighed by

the principles of fairness and comity, which favor remand of the state law claims. This litigation

is at its core about whether a local government ordinance regulating firearms violates the Maryland

Constitution and state law restrictions on such local government provisions. "Needless decisions

of state law should be avoided both as a matter of comity and to promote justice between the

parties, by procuring for them a surer-footed reading of applicable law." Gibbs, 383 U.S. at 726.

Accordingly, the Court concludes that interests of comity outweigh any minimal federal interest

in having this Court insert itself into what is primarily a dispute over the scope of a local

government's authority to legislate under state law. See, e.g., Kimberlin v. Nat'I Bloggers Club,

No. GJH-13-3059, 2015 WL 1242763, at *18 (D. Md. Mar. 17, 2015)(declining to exercise

supplemental jurisdiction because "no federal policy . . . would be furthered" by the Court



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presiding over state law claims and one federal claim). The Court will therefore decline to exercise

supplemental jurisdiction over Counts 1-3 and will sever those counts and remand them to state

court.


                                         CONCLUSION


         For the foregoing reasons, Plaintiffs' Motion to Sever and Remand All State Law Claims

will be GRANTED IN PART and DENIED IN PART in that the Court will decline to exercise

supplemental jurisdiction over the claims in Counts 1, 2, and 3, which will be severed and

remanded to the Circuit Court for Montgomery County, and Count 4 will be stayed and held in

abeyance pending the state court's resolution of Counts 1, 2, and 3. A separate order shall issue.



Date: February 7, 2022
                                                     THEODORE D. CHUANG
                                                      United States District Judg(




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